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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     _______________________________________
 7                                          )
     NEURO SCIENCE TECHNOLOGIES,            )
 8   LLC,                                   )
                                            )                 Case No. MC20-0009RSL
 9                         Plaintiff,       )
                v.                          )
10                                          )                 ORDER
     LAWRENCE A. FARWELL,                   )
11                                          )
                           Defendant.       )
12   _______________________________________)
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             On February 25, 2020, the Court entered a judgment by stipulation following arbitration
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     between the parties in the above-captioned matter. Dkt. #2. Third-party Brainwave Science, Inc.,
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     has filed a motion to intervene arguing that the judgment was procured by fraud on the Court and
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     should be vacated. Dkt. # 5. The motion is opposed. Dkt. # 8-10. In light of the contested nature
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     of this proceeding, the Clerk of Court is directed to assign a civil action number.
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             Dated this 20th day of October, 2020.
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                                                Robert S. Lasnik
                                                United States District Judge
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     ORDER
